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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW HAMPSHIRE



 Sensa Verogna,
                                                             Case No. 1:20-cv-00536-SM
         Plaintiff,

         v.

 Twitter, Inc.,

         Defendant.




              TWITTER, INC.’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                MOTION TO DISMISS OR, ALTERNATIVELY, TRANSFER

                                      I.     INTRODUCTION

       After repeated warnings about his conduct, Plaintiff Sensa Verogna (“Plaintiff”) was

suspended from Defendant Twitter, Inc.’s (“Twitter”) online platform because he posted

numerous abusive and harassing Tweets from his account @BastaLies (the “Account”). Plaintiff,

for example, posted the following message:

                  “[i]f I had special powers I would reach through that video and Bitch
                  slap that commie Bitch who is yelling like a 3-year old!!!”

       Plaintiff now attempts to claim that Twitter suspended his account not because of his

numerous violations of Twitter’s rules of conduct, but because he is white. Those claims should

be dismissed.

       As an initial and dispositive matter, Plaintiff’s claims are barred by Section 230 of the

Communications Decency Act (“CDA”) (“Section 230”) and by Twitter’s own First Amendment

rights. Section 230 immunizes companies like Twitter against claims based on their decision to
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publish or—as here—decline to publish content created by third parties. And the First Amendment

bars Plaintiff’s claim because it protects Twitter’s right to “exercise [] editorial control and

judgment” over the content that flows through its platform. Miami Herald Pub. Co. v. Tornillo,

418 U.S. 241, 258 (1974).

       While Plaintiff’s claims should be dismissed on those bases alone, Plaintiff’s claims also

suffer from various other fatal deficiencies. With respect to his discrimination claims, Plaintiff

alleges no facts that hint at any racially discriminatory conduct.1 To the contrary, Plaintiff cannot

allege that Twitter even knew his race, given that his account operated pseudonymously and

Twitter does not require its users to submit any information about their race. Twitter

transparently communicated to Plaintiff its suspension decisions, with each suspension (and

subsequent appeal) being supported by Twitter’s rules and evidence of Plaintiff’s violations

thereof. More, Plaintiff cannot show that Twitter is a “place of public accommodation,” as

required to sustain a claim under applicable federal or state law. Finally, Plaintiff’s public

accommodation claim under New Hampshire law should be dismissed based on his failure to

exhaust administrative prerequisites.

       With respect to his constitutional claim, Plaintiff cannot overcome the necessity of state

action, as Twitter is a private company. Every court to review the issue has come to that same,

inexorable conclusion.


1 While Plaintiff also infers, without factual support, that Twitter discriminated against him on
the basis of his political affiliations, none of the statutes under which he brings his claims can
sustain a claim of political affiliation discrimination. See Keating v. Carey, 706 F.2d 377, 383–
84 (2d Cir. 1981) (“§ 1981, however generously construed, does not prohibit discrimination on
the basis of political affiliation”); 42 U.S.C. § 2000a (listing only “race, color, religion, or
national origin” as protected categories); Lincoln v. Mendler, No. CV 18-4542, 2018 WL
4205421, at *2 (E.D. La. Sept. 4, 2018) (dismissing § 2000 a claim based on alleged
“discrimination against ‘openly conservative and traditional’ viewpoint”); N.H. RSA 354-A:17
(listing only “age, sex, gender identity, race, creed, color, marital status, physical or mental
disability or national origin” as protected categories). Therefore, any such claim.

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       Because Plaintiff does not, and cannot, allege a cause of action based on anything other

than Twitter’s protected decisions regarding content on its platform, his claims can neither

survive nor be cured, and should be dismissed with prejudice. Alternatively, if the Complaint is

not dismissed entirely with prejudice, this action should be transferred to the Northern District of

California pursuant to Twitter’s User Agreement, which governs the parties’ relationship and the

conduct alleged in Plaintiff’s Complaint.

                                     II.     BACKGROUND

A.     Plaintiff’s Complaint and Allegations

       1.       Twitter and Its Platform

       Twitter is an online platform that allows people all over the world to communicate

through short messages called “Tweets” using unique account names called “handles.” Twitter is

a free, user-directed service, and account holders can find Tweets and other content in a number

of ways, including by following the Twitter accounts of other users.

       2.       Twitter’s User Agreement and Rules

       In March 2019, Plaintiff signed up for Twitter using the handle @BastaLies and agreed to

Twitter’s User Agreement (“UA”) during the signup process. Compl. (Doc. No. 1) at ¶ 12.

       Twitter’s UA contains several provisions regarding the suspension of accounts. For

instance, the UA provides that: “We may suspend or terminate your account or cease providing

you with all or part of the Services at any time for any or no reason, including, but not limited to,

if we reasonably believe: (i) you have violated these Terms or the Twitter Rules and Policies . . .

.” See Compl., Ex. D-1, at § 4.2 Twitter is also entitled to “create limits on use and storage at our


2Plaintiff relies upon and attaches as Exhibit D-1 to his Complaint the current version of the
Twitter UA, which went into effect on January 1, 2020. Although Plaintiff signed up for the
Account in March 2019, Compl. at ¶ 12, there are no relevant differences between the January 1,
2020 version and the May 25, 2018 version that was in place when Plaintiff registered for

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sole discretion at any time,” and may “remove or refuse to distribute any Content on the

Services, . . . suspend or terminate users, and reclaim usernames without liability to you.” Id. The

UA also provides that (1) Twitter’s service is provided as is, (2) Twitter is neither responsible

nor liable for the availability, security, or reliability of its service, and (3) Twitter does not

guarantee its service will be available on an uninterrupted, secure, or error-free basis.3 As set out

by the UA, Twitter’s suspension decisions are informed by the Twitter Rules, including the

Violent Threats Policy, Hateful Conduct Policy, and Abusive Behavior Policy. See generally

Compl., Exs. D-2, D-3, D-4.

        Lastly, regarding the venue for any dispute, Twitter’s UA provides that: “[a]ll disputes

related to these Terms of the Services will be brought solely in the federal or state courts located

in San Francisco County, California, United States, and you consent to personal jurisdiction and

waive any objection as to inconvenient forum.” Compl., Ex. D-1, at § 6.

        3.       Plaintiff’s Conduct on Twitter Led to His Suspension

        On November 7, 2019, Twitter “locked” Plaintiff’s account based on its Hateful Conduct

Policy because Plaintiff posted this Tweet: “If I had special powers I would reach through that


Twitter. That version, which is incorporated by reference through Plaintiff’s continual references
to the UA throughout his Complaint, is attached as Exhibit A to the Declaration of Jonathan Eck;
see also Twitter Terms of Service, http://twitter.com/en/tos/previous/version_13 (effective May
25, 2018). Trans-Spec Truck Serv. v. Caterpillar, 524 F.3d 315, 321 (1st Cir. 2008) (a court may
consider material incorporated by reference in a complaint).
3 Specifically, users agree that “access to and use of the Services or any Content are at your own
risk[,]” and that Twitter’s services “are provided to you on an ‘AS IS’ and ‘AS AVAILABLE’
basis.” Compl., Ex. D-1, at § 5. Twitter “DISCLAIM[S] ALL WARRANTIES AND
CONDITIONS, WHETHER EXPRESS OR IMPLIED, OF MERCHANTABILITY [OR]
FITNESS FOR A PARTICULAR PURPOSE,” and responsibility and liability for “availability
[or] . . . security or reliability of the Services, . . . [and] whether the Services will meet your
requirements or be available on an uninterrupted, secure, or error-free basis.” Id. Lastly, that
Twitter “SHALL NOT BE LIABLE” for direct or indirect harm “RESULTING FROM . . .
INABILITY TO ACCESS OR USE THE SERVICES . . . [or] UNAUTHORIZED ACCESS,
USE OR ALTERATION OF YOUR TRANSMISSIONS OR CONTENT.” Id.

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video and Bitch slap that commie Bitch who is yelling like a 3-year old!!!” Compl. at ¶ 18(a).

That lock permitted Plaintiff to unlock his account by deleting that Tweet. Compl., Ex. F-1.

       On December 2, 2019, the Washington Post’s Twitter account tweeted an article entitled:

“Lisa Page is a uniquely convenient target for Trump’s standard practice of belittling women.”

Compl., Ex. F-3. And, less than a month after his threat to “Bitch slap [a] commie Bitch,”

Plaintiff replied to the Washington Post’s Tweet with: “Ya, let’s all get all cutesy with a fkcn

#Traitor who should be hung if found guilty.” Compl. at ¶ 18(b). In response, Twitter

permanently suspended Plaintiff’s account under its Hateful Conduct Policy. Id.

       Plaintiff appealed his suspension and, after reviewing Plaintiff’s appeal, Twitter

confirmed the suspension based on its Abusive Behavior Policy. Id. at ¶ 20(b).

       4.       Plaintiff Theorizes that Twitter Suspended Him Because He Is White

       On May 4, 2019, Plaintiff filed his case against Twitter, asserting violations of (1) 42

U.S.C. § 1981; (2) 42 U.S.C. § 2000a; (3) N.H. RSA 354-A:17; and (4) his constitutional rights.

       Plaintiff alleges, in sum, that Twitter discriminated against him because he is white. But

Plaintiff, who operated an anonymous account,4 does not and cannot allege any facts suggesting

that the suspension of the Account was racially motivated. Instead, Plaintiff concludes, without

more, that because his Tweets displayed conservative tendencies, Twitter must have known he


4 As part of the Complaint, Plaintiff has also moved to proceed anonymously. In determining
whether to permit a litigant to proceed anonymously, courts in this district consider: (1) whether
the identity of the litigant has been kept confidential; (2) the reasons disclosure is feared or
sought to be avoided, and the substantiality of these reasons; (3) the public interest in
maintaining the confidentiality of the litigant’s identity, versus the public interest in knowing the
litigant’s identity; (4) the undesirability of an outcome adverse to the litigant and attributable to
his refusal to pursue the case at the price of being publicly identified; (5) whether the litigant has
illegitimate ulterior motives; and (6) whether the opposition to the litigant’s use of a pseudonym
by counsel, the public, or the press is illegitimately motivated. See Doe v. Trustees of Dartmouth
College, No. 18-cv-040-LM, 2018 WL 2048385, at *4-5 (D.N.H. May 2, 2018) (quoting Doe v.
Megless, 654 F.3d 404 (3d Cir. 2011)). Twitter does not take a position on Plaintiff’s request,
except to say that it is unclear whether the standards for proceeding anonymously have been met.

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was white because “Republic and Republican-leaning voters continue to be overwhelmingly

white.” Compl. at ¶ 23; see also ¶ 96 (“it can be reasonably inferred that Twitter suspends

Republicans and Conservatives not for their political view or associations, but because they are

white.”). Plaintiff also reasons that Twitter’s rule prohibiting abuse based on race means that

“race had something to do with the decision-making process” to ban his account. Id. at ¶ 47.

        Plaintiff has not alleged facts sufficient to maintain any claims, and his claims would

nevertheless be barred under the CDA, so Twitter moves to dismiss this action with prejudice.

                                        III.    ARGUMENT

A.      Legal Standard

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (internal quotation marks omitted). This requires Plaintiff to plead “factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id.; see also Tringali v. Mass. Dep’t of Transitional Assistance, No. 12-cv-

124-PB, 2012 WL 5683236, at *4 (D.N.H. Nov. 13, 2012) (dismissing pro se plaintiff’s claims

because “she has not pleaded sufficient facts” in support). “Threadbare recitals of the elements of

a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at

678. And Plaintiff’s “[f]actual allegations must be enough to raise a right to relief above the

speculative level[.]” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007).

        Although complaints by pro se litigants receive a “deferential reading,” “bald assertions,

unsupportable conclusions, … and the like need not be credited.’” Hecking v. Barger, No. 08-cv-

490-JL, 2010 WL 653553, at *1 (D.N.H. Feb. 23, 2010) (quoting Aulson v. Blanchard, 83 F.3d




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1, 3 (1st Cir. 1996)). Further, “pro se status does not insulate a party from complying with

procedural and substantive law.” Ahmed v. Rosenblatt, 118 F.3d 886, 890 (1st Cir. 1997).

       Courts can dismiss a pro se complaint with prejudice, even sua sponte, “[w]here the

allegations in the complaint, viewed in the light most favorable to plaintiff, ‘are patently

meritless and beyond all hope of redemption,’ i.e., where it is ‘crystal clear that the plaintiff

cannot prevail and that amending the complaint would be futile[.]’” Green v. Concord Baptist

Church, 313 F. App’x 335, 336 (1st Cir. 2009) (citation omitted). This is appropriate where

claims are “based on indisputably bogus legal theories or delusional factual scenarios.” Id.; see

also Every v. Dep’t of Veterans Affairs, No. 15-cv-177-LM, 2016 WL 107947, at *1 (D.N.H.

Jan. 8, 2016) (dismissing pro se complaint and explaining that “[t]he central problem with [the]

complaint is that there are insufficient facts to piece together any sort of coherent narrative”).

B.     The Communications Decency Act Bars Plaintiff’s Claims.

       The CDA protects Twitter from being sued for precisely the conduct alleged here:

removing content created by third parties such as Plaintiff. Plaintiff’s lawsuit must therefore be

dismissed with prejudice. See 47 U.S.C. § 230(c)(1); Universal Commc’n Sys., Inc. v. Lycos,

Inc., 478 F.3d 413, 418-22 (1st Cir. 2007) (“Lycos”).

       Section 230(c)(1) of the CDA provides that “[n]o provider or user of an interactive

computer service shall be treated as the publisher or speaker of any information provided by

another information content provider.” 47 U.S.C. § 230(c)(1). Section 230’s preemption

provision further states that “[n]o cause of action may be brought and no liability may be

imposed under any State or local law that is inconsistent with this section.” Id. § 230(e)(3).

Under the CDA, a suit that seeks to block “[a]ny activity that can be boiled down to deciding

whether to exclude material that third parties seek to post online is perforce immune under




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Section 230.” Fair Hous. Council of San Fernando Valley v. Roommates.com, LLC, 521 F.3d

1157, 1170-71 (9th Cir. 2008) (en banc) (“Roommates”). Therefore, courts apply CDA immunity

broadly “to protect websites not merely from ultimate liability, but from having to fight costly

and protracted legal battles.” Id. at 1175. Indeed, First Circuit courts take an expansive view of

Section 230’s protections and the immunity that it confers on providers like Twitter. Lycos, 478

F.3d at 419. That expansive Section 230 protection is critical to avoid the “obvious chilling

effect” on speech that intermediary liability would impose on internet platforms such as Twitter.

Id. at 418-19 (quoting Zeran v. America Online, Inc., 129 F.3d 327, 331 (4th Cir. 1997)).

       CDA immunity applies so long as a provider can establish that it is (1) an interactive

computer service, (2) the content was created by another “information content provider, and

(3) the claims treat the provider as the “publisher” or “speaker of the content.” Barnes v. Yahoo!,

Inc., 570 F.3d 1096, 1100-01 (9th Cir. 2009) (citation omitted). Here, Twitter is (1) an

“interactive computer service,” (2) the Tweets were created by other “information content

providers,” and (3) Plaintiff’s claims treat Twitter as the “publisher” or “speaker” of the Tweets.

       Moreover, Plaintiff’s discrimination and civil rights claims do not fall within an

exception to CDA immunity. See, e.g., 47 U.S.C. § 230(e)(1)-(5) (listing five exemptions not

relevant here); King v. Facebook, Inc., No. 19-CV-01987-WHO, 2019 WL 4221768, at *5 (N.D.

Cal. Sept. 5, 2019) (Section 1981 claim brought by user against Facebook for allegedly racially

discriminatory removal barred by CDA immunity); Brittain v. Twitter, Inc., No. 19-cv-00114-

YGR, 2019 WL 2423375, at *2 (N.D. Cal. June 10, 2019) (illustrated infra). Indeed, “what

matters is not the name of the cause of action—[but] whether the cause of action inherently

requires the court to treat the defendant as the publisher or speaker of the content provided.”

Barnes, 570 F.3d at 1101-02. “[C]ourts must ask whether the duty that the plaintiff alleges the




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defendant violated derives from the defendant’s status or conduct as a publisher or speaker. If it

does, section 230(c)(1) precludes liability.” Id. (citations omitted).

       Accordingly, as discussed below, CDA immunity bars Plaintiff’s lawsuit against Twitter.

       1.       Twitter is an interactive computer service.

       An “interactive computer service” is “any information service, system, or access software

provider that provides or enables computer access by multiple users to a computer server . . . .”

47 U.S.C. § 230(f)(2). An “access software provider” is a “provider of software … or enabling

tools that … filter, screen, allow, or disallow content; [] pick, choose, analyze, or digest content;

or [] transmit, receive, display, forward, cache, search, subset, organize, reorganize, or translate

content.” Id., § 230(f)(4).

       As numerous courts have found, Twitter easily meets the definition of an “interactive

computer service” because it provides a service that enables users to communicate on an online

platform. See, e.g., Mezey v. Twitter, Inc., No. 1:18-CV-21069-KMM, 2018 WL 5306769, at *1

(S.D. Fla. July 19, 2018) (holding that Twitter is an interactive computer service); Brittain, 2019

WL 2423375 at *2 (granting Twitter’s motion to dismiss under the CDA); Dehen v. Does 1-100,

No. 17cv198-LAB (WCG), 2018 WL 4502336, *3 (S.D. Cal. Sept. 19, 2018) (same); Frenken v.

Hunter, No. 17-cv-02667-HSG, 2018 WL 1964893, *2 (N.D. Cal. Apr. 26, 2018) (same); Am.

Freedom Def. Initiative v. Lynch, 217 F. Supp. 3d 100, 104 (D.D.C. 2016) (same).

       2.       The content was posted by another information content provider.

       It is also beyond dispute that Twitter did not create the relevant content. Instead, Plaintiff

identifies Tweets that he created. Therefore, Plaintiff is the “information content provider” under

the CDA. 47 U.S.C. § 230(c)(1); accord Sikhs for Justice “SFJ,” Inc.v. Facebook, Inc., 144 F.

Supp. 3d 1088, 1094 (N.D. Cal. 2015), aff’d, 697 F. App’x 526 (9th Cir. 2017) (“third-party




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content” is “content created entirely by individuals . . . other than the interactive computer

service provider”) (citation omitted); see also Gavra v. Google, Inc., No. 5:12-CV-06547-PSG,

2013 WL 3788241, at *2, n.22 (N.D. Cal. July 17, 2013) (Google not an information content

provider where it was “undisputed” that the content was created by a third-party).

       3.      Plaintiff’s claims treat Twitter as a publisher.

       Plaintiff’s claims seek to hold Twitter liable for performing a publisher’s traditional

editorial functions, specifically, decisions about whether to remove or leave up third-party

content. See, e.g., Hiam v. HomeAway.com, Inc., 267 F. Supp. 3d 338, 346 (D. Mass. 2017),

aff’d, No. 17-1898, 2018 WL 17558, aff’d, 887 F.3d 542 (1st Cir. 2018) (citing Lycos, 478 F.3d

at 422); Roommates, 521 F.3d at 1170-71 (removal decisions relating to third-party content are

“perforce immune under section 230”); Brittain, 2019 WL 2423375 at *3 (citing the same); see

Barnes, 570 F.3d at 1103 (“[R]emoving content is something publishers do”).

       In Brittain, for example, the plaintiff (a political candidate) brought a number of claims

against Twitter relating to deletion of his account. Brittain, 2019 WL 2423375, at *3. In

opposing Twitter’s motion to dismiss on CDA grounds, the plaintiff argued that Twitter did not

act as a publisher in removing his account because Twitter’s platform is a public forum, and

Twitter’s only appropriate role is as a participant in that forum. Id. The court agreed with Twitter

that the plaintiff’s claims arising from deletion of his account, including purported violations of

the First Amendment, “‘ultimately arise from Twitter’s alleged decision to suspend’” the

plaintiff’s accounts and therefore sought “to treat Twitter as a publisher under the CDA.” Id.

       As all three requirements for CDA immunity are met, Plaintiff’s claims are barred. See,

e.g., King, 2019 WL 4221768 at *5; Brittain, 2019 WL 2423375, at *2. And because Plaintiff

cannot plead around CDA immunity, Plaintiff’s Complaint should be dismissed without leave to




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amend. See, e.g., Frenken, 2018 WL 1964893 at *4 (dismissing pro se plaintiff’s complaint

against Twitter without leave to amend because the claims were barred by the CDA); Mezey,

2018 WL 5306769 at *1-2 (same); Dehen, 2018 WL 4502336 at *4 (same).

C.      The First Amendment Bars Plaintiff’s Claims.

        Plaintiff’s claims are also barred by the First Amendment. Twitter has a constitutionally

protected right to decide which speech to allow on its platform. See, e.g., Langdon v. Google,

Inc., 474 F. Supp. 2d 622, 630–31 (D. Del. 2007) (claims dismissed against Google for its

“editorial decisions” regarding third-party content as precluded by the First Amendment and

CDA); La’Tiejira v. Facebook, Inc., 272 F. Supp. 3d 981, 991 (S.D. Tex. 2017) (collecting cases

and holding that Facebook has a “First Amendment right to decide what to publish and what not

to publish on its platform”); Zhang v. Baidu.com, Inc., 10 F. Supp. 3d 433, 435 (S.D.N.Y. 2014)

(dismissing case where relief sought would violate search engine’s First Amendment rights).5

Therefore, under the First Amendment, Twitter cannot face liability for its decisions about what

speech to allow (or not) on its service and platform, and because Plaintiff cannot cure this

fundamental flaw through amendment, his claims must be dismissed with prejudice.

D.      Plaintiff Fails to Plead Any Viable Claims.

        Plaintiff’s Complaint also fails as a matter of law and should be dismissed with prejudice

for the additional reason that Plaintiff has not and cannot state a claim for alleged discrimination

or violation of his constitutional rights.




5Other content hosts, such as cable TV operators and newspapers, receive this protection. See
Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 636 (1994) (“[B]y exercising editorial
discretion over which stations or programs to include in its repertoire, cable programmers and
operators seek to communicate messages on a wide variety of topics and in a wide variety of
formats.”) (internal quotation marks and citation omitted); Miami Herald Pub. Co., 418 U.S. at
258 (newspaper not required to publish op-ed columns it disagrees with).

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       1.      The Court Should Dismiss Plaintiff’s Section 1981 Claim.
       To state a claim under 42 U.S.C. § 1981, Plaintiff must show that (1) he is a member of a

racial minority; (2) the defendant discriminated against him on the basis of race; and (3) the

discrimination implicated one or more of the activities listed in the statute, including the right to

make and enforce contracts. Hammond v. Kmart Corp., 733 F.3d 360, 362 (1st Cir. 2013).

Plaintiff has not alleged facts sufficient to state a Section 1981 claim.

               a.      Plaintiff has not pleaded facts supporting a claim that Twitter
                       discriminated against him.
       As a preliminary matter, Plaintiff has not pleaded any facts to establish Twitter’s

termination of the Account was “purposefully discriminatory [] and racially motivated.” Albert v.

Carovano, 851 F.2d 561, 571-72 (2d Cir. 1988). “[A] plaintiff bears the burden of showing that

race was a but-for cause of its injury.” Comcast Corp. v. Nat’l Ass’n of African American-Owned

Media, 140 S. Ct. 1009, 1014 (Mar. 23, 2020) (dispensing with plaintiff’s argument that it need

only meet the lesser “motivating factor” test). “[W]hile the materials the plaintiff can rely on to

show causation may change as a lawsuit progresses from filing to judgment, the burden itself

remains constant.” Id. at 1014-15. “Conclusory allegations of generalized racial bias do not

establish discriminatory intent,” and they are not taken as true. King v. Friends of Kelly Ayotte,

860 F. Supp. 2d 118, 128 (D.N.H. 2012) (quoting Flagg v. Control Data, 806 F. Supp. 1218,

1223 (E.D. Pa. 1992), aff’d 998 F.2d 1002 (3rd Cir. 1993), cert. denied, 510 U.S. 1052 (1994)).

       Moreover, several courts have held that a plaintiff’s political beliefs are not protected by

Section 1981. See, e.g., Dartmouth Review v. Dartmouth Coll., 709 F. Supp. 32, 37 (D.N.H.

1989) (“Even if the Review’s actions were perceived by certain members of the Dartmouth

community to be racially motivated, this creates an inference of bias based on plaintiffs’ political

convictions, not an inference of racial animus. As Albert makes clear, such an inference does not



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support a claim for relief under section 1981.”). This is so even where a plaintiff argues that a

political belief is one “favored by” a particular racial minority. Albert, 851 F.2d at 573 (“There is

no authority . . . to support the proposition that a non-minority plaintiff may bring a Section 1981

action for retaliation by another as a consequence of the plaintiff's support of political or other

causes favored by minorities.”).

       Finally, courts can and do dismiss claims of racial discrimination where there is no

evidence that the defendant was aware of the plaintiff’s race. See, e.g., Drake v. Mitch Rosen

Extraordinary Gunleather, LLC, No. 16-CV-527-JL, 2017 WL 1076396, at *5 n.2 (D.N.H. Jan.

17, 2017) (dismissing claims under Section 1981 and Title II where plaintiff alleged that his only

communications with defendant were “by mail, by e-mail, and over the telephone,” such that

“there appear[ed] to be no factual basis for his conclusory assertion that [defendant] understood

that [plaintiff’s] race was African American.”).

       Here, Plaintiff alleges no facts that his race was the cause of his suspension from Twitter.

In fact, Plaintiff has not even alleged any facts to suggest that Twitter knew his race, given that

his Twitter account was pseudonymous and Twitter does not require accountholders to submit

any information identifying their race. All of Plaintiff’s allegations with respect to race are

conclusory. See, e.g., Compl. at ¶ 14 (“Twitter banned Sensa from using many of the services

offered at Twitter.com . . . due to his race.”); ¶ 25 (“Twitter’s Health Policies have shown to

have a strong bias against and have displayed a racially discriminatory animus toward

Republicans or Conservatives, who are, like Sensa, generally white.”); ¶ 42 (“It’s plausible to

infer that Twitters [sic] Health Policy was built to find whites and not non-whites and was not

designed to target non-whites which allows left leaning or liberal stuff”).6 Plaintiff must allege


6To the extent Plaintiff is suggesting that he was discriminated against, not for his race, but for
his conservative beliefs, that suggestion fails for several reasons. As with his race claims, he does

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more than an unfounded accusation that Twitter unfairly enforces its rules. Plaintiff fails to offer

any non-conclusory allegations that he would not have been banned but for his race.

       2.      The Court Should Dismiss Plaintiff’s 42 U.S.C. § 2000a Claim.

       Plaintiff’s discrimination claim under 42 U.S.C. § 2000a (“Title II”) fails as well. To state

a claim, “a plaintiff must plausibly plead that he: (1) is a member of a protected class; (2)

attempted to exercise the right to full benefits and enjoyment of a place of public

accommodations; (3) was denied those benefits and enjoyment; and (4) was treated less

favorably than similarly situated persons who are not members of the protected class.” Drake,

2017 WL 1076396, at *2.

               a.      Twitter is not a “place of public accommodation” under Title II.

       First, Plaintiff has failed to allege that Twitter is a “place of public accommodation.”

Section 2000a(b) defines a “place of public accommodation” as follows:


       (1) any inn, hotel, motel, or other establishment which provides lodging to transient
       guests, other than an establishment located within a building which contains not more
       than five rooms for rent or hire and which is actually occupied by the proprietor of such
       establishment as his residence;

       (2) any restaurant, cafeteria, lunchroom, lunch counter, soda fountain, or other facility
       principally engaged in selling food for consumption on the premises, including, but not
       limited to, any such facility located on the premises of any retail establishment; or any
       gas station;



not allege that Twitter knew his political beliefs, much less was motivated by them. More, none
of the causes of action brought by Plaintiff could support a claim for “political affiliation”
discrimination. See Keating v. Carey, 706 F.2d 377, 383–84 (2d Cir. 1981) (“§ 1981, however
generously construed, does not prohibit discrimination on the basis of political affiliation”); 42
U.S.C. § 2000a (listing only “race, color, religion, or national origin” as protected categories);
Lincoln v. Mendler, No. CV 18-4542, 2018 WL 4205421, at *2 (E.D. La. Sept. 4, 2018)
(dismissing § 2000a claim based on alleged “discrimination against ‘openly conservative and
traditional’ viewpoint”); N.H. RSA 354-A:17 (listing only “age, sex, gender identity, race, creed,
color, marital status, physical or mental disability or national origin” as protected categories).

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       (3) any motion picture house, theater, concert hall, sports arena, stadium or other place of
       exhibition or entertainment; and

       (4) any establishment (A)(i) which is physically located within the premises of any
       establishment otherwise covered by this subsection, or (ii) within the premises of which
       is physically located any such covered establishment, and (B) which holds itself out as
       serving patrons of such covered establishment.

       While Plaintiff alleges that Twitter constitutes a “place of public accommodation” under

Title II because it “hosts many events open to the public” where it “supplies food and beverages”

for attendees at its offices nationwide, and because its San Francisco office “houses an on-site

bakery and sandwich shop” (Compl. at ¶ 98), nowhere does he allege that he was denied access

to or excluded from any of these physical facilities. Rather, his claims focus on his alleged

exclusion from Twitter’s online platform.

       Twitter’s online platform is not a “place of public accommodation” for purposes of Title

II. See Noah v. AOL Time Warner, Inc., 261 F. Supp. 2d 532, 541 (E.D. Va. 2003), aff’d, No. 03-

1770, 2004 WL 602711 (4th Cir. Mar. 24, 2004); Ebeid v. Facebook, Inc., No. 18-CV-07030-

PJH, 2019 WL 2059662, at *6 (N.D. Cal. May 9, 2019) (internal citations omitted). In Noah, for

example, the court considered whether an AOL chat room could constitute a “place a public

accommodation” under Title II and determined that it could not. 261 F. Supp. 2d at 541-45. The

court noted that Title II refers to actual physical structures, and “[a]lthough a chat room may

serve as a virtual forum through which AOL members can meet and converse in cyberspace, it is

not an ‘establishment,’ under the plain meaning of that term as defined by the statute.” Id. “[A]

chat room does not exist in a particular physical location, indeed it can be accessed almost

anywhere,” and it therefore “lacks the physical presence necessary to constitute a place of public

accommodation under Title II….” Id.




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       Likewise, in Ebeid, the court dismissed the plaintiff’s claim that his suspension from

Facebook violated Title II based in part on its conclusion that Facebook is not a place of public

accommodation, regardless of the physical location of the company’s servers. 2019 WL

2059662, at *6. The court noted that the “plaintiff’s use of and the service provided by

Facebook’s online platform ‘is unconnected to entry into a public place or facility,’ and therefore

‘the plain language of Title II makes the statute inapplicable.’” Id.

       Here, as in Noah and Ebeid, Twitter’s online platform does not constitute a “place of

public accommodation,” and Plaintiff cannot sustain a claim under Title II.

               b.      Plaintiff has not alleged any discrimination.

       Second, as discussed in Section D.1.a, supra, Plaintiff cannot establish that he was treated

less favorably because he is white. This element of a Title II claim is evaluated “substantially

similar” to that of a claim brought under Section 1981. See, e.g., Drake, 2017 WL 1076396, at *3

(explaining that because plaintiff failed to plead facts showing that he was treated less favorably

than similarly situated persons who are not members of a protected class for purposes of his

Section 1981 claim, he necessarily failed to state a claim under Section 2000a); see also Lizardo

v. Denny’s, Inc., 270 F.3d 94, 104-06 (2d Cir. 2001) (“[f]or the same reasons that the plaintiffs

cannot prevail on their § 1981 claims, they can not do so under § 2000a”). Accordingly, for the

same reasons, Plaintiff cannot establish this element of his Title II claim.


        3.     The Court Should Dismiss Plaintiff’s N.H. RSA 354-A:17 Claim.

               a.      Plaintiff has not exhausted his administrative remedies.

       First, Plaintiff has not satisfied the administrative prerequisites to bring a claim under

New Hampshire’s anti-discrimination in public accommodation law, N.H. RSA 354-A:17. This

law is found in New Hampshire’s anti-discrimination statute, N.H. RSA Chapter 354-A, which



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permits a plaintiff to bring a civil action under the statute only “if certain preconditions are met.”

Munroe v. Compaq Computer Corp., 229 F. Supp. 2d 52, 67 (D.N.H. 2002).

        Indeed, “RSA 354-A:21-a, I requires that the plaintiff first make a timely filing of the

complaint with the New Hampshire Commission on Human Rights [(the “NHCHR”)].” Wilson v.

Port City Air, Inc., No. 13-cv-129-JD, 2013 WL 2631860, at *2 (D.N.H. June 12, 2013). And

then a plaintiff must wait a minimum of 180 days after the filing of that NHCHR complaint to

bring a civil action. N.H. RSA 354-A:21-a. “Failure to do so precludes a claim under RSA 354-A

in court.” Id.; see also Carney v. Town of Weare, No. 15-cv-291-LM, 2017 WL 680384, at *6

(D.N.H. Feb. 21, 2017) (“A plaintiff’s failure to exhaust administrative remedies, such as the

charging requirement here, is an affirmative defense.”). Any ruling by the NHCHR must be

reviewed by a state superior court. Munroe, 229 F. Supp. 2d at 67. And “[a] litigant may not use

supplemental jurisdiction to have a federal court instead of a state court perform judicial review

of a state administrative agency decision that a state statute assigns to state court.” Id.

(“[Plaintiff] forfeited her state law claim because she did not follow the statutory procedure that

created the private right of action.”). As a result, Plaintiff is statutorily barred from bringing a

claim under N.H. RSA 354-A:17 at this time.7

        b.      Regardless, Plaintiff cannot state a claim for discrimination.

        Even if Plaintiff had exhausted his administrative remedies, his claim would still fail.

N.H. RSA 354-A:17 provides that “[i]t shall be an unlawful discriminatory practice for any


7 There is case law that suggests New Hampshire’s administrative resolution statute “is not an
exclusive remedy,” such that a plaintiff could pursue either administrative or judicial review. See
Douglas v. Coca-Cola Bottling Co. of N. New England, Inc., 855 F. Supp. 518, 522 (D.N.H.
1994); In re Perkins, 147 N.H. 652 (2002). But those cases were abrogated when the statute was
amended in 2000 to include the choice of forum provision compelling administrative review
prior to court action. See Munroe, 229 F. Supp. 2d at 67 (recognizing that the introduction of the
forum provision in 2000 significantly changed the judicial review process contemplated by the
statute).

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person, being the owner, lessee, proprietor, manager, superintendent, agent or employee of any

place of public accommodation, because of the . . . race . . . of any person . . . directly or

indirectly, to refuse, withhold from or deny to such person any of the accommodations,

advantages, facilities or privileges thereof[.]” As with his claims under Sections 1981 and 2000a,

Plaintiff has not alleged that his suspension was the result of discriminatory animus, for the

reasons already articulated in those sections.

               i.      Twitter is not a “place of public accommodation” under New
                       Hampshire law.
       As with his Title II claim, Plaintiff has not alleged that Twitter is a “place of public

accommodation” under New Hampshire law. A “place of public accommodation” is defined as:


       any inn, tavern or hotel, whether conducted for entertainment, the housing or lodging of
       transient guests, or for the benefit, use or accommodations of those seeking health,
       recreation or rest, any restaurant, eating house, public conveyance on land or water,
       bathhouse, barbershop, theater, golf course, sports arena, health care provider, and music
       or other public hall, store or other establishment which caters or offers its services or
       facilities or goods to the general public. ‘Public accommodation’ shall not include any
       institution or club which is in its nature distinctly private.

N.H. RSA 354-A:2. Like Title II, all of the examples are physical structures, and the catch-all

requires the defendant to be an “establishment.” Id.; see also Establishment, Black’s Law

Dictionary (11th ed. 2019) (“An institution or place of business.”). Thus, Twitter’s online

platform cannot constitute a “place of public accommodation.”


               ii.     Plaintiff has not alleged any discrimination.

       As with Plaintiff’s claims under Section 1981 and Title II, and for the same reasons

articulated in Section D.1.a, supra, Plaintiff has not sufficiently alleged racial discrimination

with respect to his New Hampshire public accommodation claim.




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        3.      Plaintiff's Constitutional Rights Claims Also Must Fail Because There is No
                State Action
        Plaintiff’s claims for violations of constitutional rights, including for violations of his

First Amendment and Due Process rights, fail because Twitter is a private company, and there is

no state action. See DeLima v. YouTube, LLC, No. 17-CV-733-PB, 2018 WL 4473551, at *4

(D.N.H. Aug. 30, 2018), report and recommendation adopted sub nom. DeLima v. YouTube Inc.,

No. 17-CV-733-PB, 2018 WL 4471721 (D.N.H. Sept. 18, 2018), aff'd sub nom. DeLima v.

YouTube, Inc., No. 18-1666, 2019 WL 1620756 (1st Cir. Apr. 3, 2019), cert. denied, 140 S. Ct.

555 (2019) (dismissing claims for discrimination and constitutional rights violations with

prejudice as Twitter is a private company, and the plaintiff had failed to allege any state action).

        It is axiomatic that “the constitutional guarantee of free speech is a guarantee only against

abridgment by government, federal or state.” Hudgens v. N.L.R.B., 424 U.S. 507, 513 (1976); see

also McGuire v. Reilly, 386 F.3d 45, 60 (1st Cir. 2004) (“Obviously, only the government can

violate First Amendment rights: every First Amendment claim thus requires state action in some

sense.”); Nat’l A–1 Adver., Inc. v. Network Sols., Inc., 121 F. Supp. 2d 156, 165-66

(D.N.H.2000) (“By its very terms, the [First] Amendment proscribes governmental conduct, not

conduct undertaken by private citizens.”); Falzarano v. United States, 607 F.2d 506, 511 (1st

Cir. 1979) (“The fourteenth amendment’s [prohibition against denial of due process] runs only

against states, not against private entities.”).

        While Plaintiff claims that Twitter is a “State Actor,” Compl. at ¶ 121, “[i]t is only in rare

circumstances that private parties can be viewed as state actors.” Estades-Negroni v. CPC Hosp.

San Juan Capestrano, 412 F.3d 1, 5 (1st Cir. 2005) (citation omitted). The First Circuit has

explained that such “rare circumstances” exist only where: (1) the state has exercised coercive

power or has provided such significant encouragement that the challenged conduct must in law



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be deemed to be that of the state; (2) where the state was a joint participant in the challenged

conduct; or (3) where, in engaging in the challenged conduct, the private party performed a

public function that has been traditionally the “exclusive prerogative” of the state. Id. (citations

omitted). Ultimately, the test is whether “it can be said that the State is responsible for the

specific conduct of which the plaintiff complains.” Brentwood Acad. v. Tenn. Secondary Sch.

Athletic Assoc., 531 U.S. 288, 295 (2001) (quoting Blum v. Yaretsky, 457 U.S. 991, 1004 (1982))

(emphasis in original).

         Here, Plaintiff has failed to plead facts that would support a finding of any state action.

As to the state compulsion test, there is no suggestion that the government “coerced,”

“encouraged,” or even conferred with Twitter regarding its conduct with respect to Plaintiff’s

Tweets. As to the joint participant test, there is no suggestion that the government “so far

insinuated itself into a position of interdependence with [Twitter] that it should be considered a

joint participant in” its decision to delete his Tweets. Estades-Negroni, 412 F.3d at 6.

         As to the public function test, Plaintiff has failed to plead that in deleting his Tweets,

Twitter performed an exclusively public function. The Supreme Court has explained that for a

private entity to be deemed a state actor, the challenged conduct must be one of the “very few”

functions that has been “exclusively reserved to the state.” Flagg Bros., Inc. v. Brooks, 436 U.S.

149, 158 (1978) (emphasis added). Examples of such functions include the conduct of elections

and the governance of a town. Logiodice v. Tr. of Me. Cent. Inst., 296 F.3d 22, 26 (1st Cir.

2002).

         While Plaintiff suggests that Twitter “exhibits all the features of a public forum,” Compl.

at ¶ 106, courts have uniformly rejected claims which attempt to treat online platforms such as

Twitter as state actors on these grounds. See, e.g., Freedom Watch, Inc. v. Google, Inc., 368 F.




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Supp. 3d 30, 40 (D.D.C. 2019) (holding that Twitter and [Facebook] are not subject to First

Amendment as “private businesses . . . do not become ‘state actors’ based solely on the provision

of their social media sites to the public”), aff’d, No. 19-7030 (D.C. Cir. May 27, 2020); Nyabwa

v. Facebook, No. 2:17-CV-24, 2018 WL 585467, *1 (S.D. Tex. Jan. 26, 2018) (explaining that

although “social media sites like Facebook and Twitter have become the equivalent of a public

forum for sharing ideas and commentary,” there is no support for “a cause of action against

[these private entities] for a violation of the free speech rights protected by the First

Amendment.”); Prager Univ. v. Google LLC, No. 17-CV-06064-LHK, 2018 WL 1471939, at *8

(N.D. Cal. Mar. 26, 2018), aff’d, 951 F.3d 991 (9th Cir. 2020) (explaining that “private entities

who created their own . . . social media website and make decisions about whether and how to

regulate content that has been uploaded on that website” are not subject to First Amendment);

Davison v. Facebook, Inc., 370 F. Supp. 3d 621, 628 (E.D. Va. 2019) (“[Facebook and Twitter]

are indisputably private companies” for purposes of First Amendment); Langdon, 474 F. Supp. at

631-32 (finding Google is a private entity that is “not subject to constitutional free speech

guarantees” and asserting that the Supreme Court “has routinely rejected the assumption that

people who want to express their views in a private facility . . . have a constitutional right to do

so”).

        Plaintiff does not—and cannot—allege that any of Twitter’s conduct occurred at the

behest of a state or federal government, let alone that there was sufficient coercion or

cooperation to constitute state action. These causes of action should be dismissed; and because

Twitter cannot be a state actor, the dismissal should be with prejudice.8


8Plaintiff is incorrect that Twitter could be held liable for a First Amendment violation because
“federal courts of appeals has held that the government can create public forums within Twitter’s
public forum.” Compl. at ¶ 108. This assertion appears to be a misinterpretation of a line of cases
holding that social media accounts belonging to public officials may constitute public forums

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D.     Alternatively, the Case Should be Transferred to the Northern District of
       California.

       If the claims against Twitter are not dismissed, they should be transferred to the Northern

District of California pursuant to Twitter’s UA, which provides that “[a]ll disputes related to

these Terms of the Services [provided by Twitter] will be brought solely in the federal or state

courts located in San Francisco County, California . . .” Compl., Ex. D-1, at § 6.

       This clause is mandatory, applicable, enforceable and, under 28 U.S.C. § 1404(a),

requires transfer of any surviving claims. See Atl. Marine Const. Co. v. U.S. Dist. Court for W.

Dist. of Tex., 571 U.S. 49, 58-59 (2013) (clarifying that Section § 1404(a) is the proper

mechanism to enforce a forum-selection clause); Song fi, Inc. v. Google Inc., 72 F. Supp. 3d 53,

60 (D.D.C. 2014) (transferring claims against YouTube to the Northern District of California

because “[a]llowing Plaintiffs to proceed in this District, when their claims all relate to conduct

based on YouTube’s Terms of Service, would undermine the very purpose of forum selection

clauses.”); Darnaa, LLC v. Google, Inc., No. 15-cv-03221-RMW, 2015 WL 7753406, at *2

(N.D. Cal. Dec. 2, 2015), on reconsideration in part, No. 15-cv-03221-RMW, 2016 WL

6540452 (N.D. Cal. Nov. 2, 2016) (finding YouTube’s Terms of Service enforceable); Wingo v.

Twitter, Inc., No. 14-2643, 2014 WL 7013826, at *1, *3 (W.D. Tenn. Dec. 12, 2014)

(transferring an action to the Northern District of California under Twitter’s Terms of Service).




under certain circumstances. See, e.g., Knight First Amendment Inst. at Columbia Univ. v.
Trump, 928 F.3d 226 (2d Cir. 2019) (holding that a public official’s social media account, to the
extent that it is “intentionally opened for public discussion,” “repeatedly used . . . as an official
vehicle for governance,” and “accessible to the public without limitation” is a type of public
forum, such that President Trump’s blocking of users who expressed views with which he
disagreed violated the First Amendment); Davison v. Randall, 912 F.3d 666 (4th Cir. 2019)
(holding that public official who used Facebook “as a tool of governance” exercised state action
when banning a constituent from her page). In each of these cases, the challenged conduct was
carried out by a public official, not by the online platform on which its content was hosted.

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       First, the forum selection clause is mandatory rather than permissive. See Rivera v.

Centro Médico de Turabo, Inc., 575 F.3d 10, 17 (1st Cir. 2009) (“[M]andatory forum selection

clauses contain clear language indicating that jurisdiction and venue are appropriate exclusively

in the designated forum.”) (citation omitted). Twitter’s forum selection clause provides that all

disputes will be brought “solely” in San Francisco County. Therefore, the only federal venue

where covered claims can be brought in is the Northern District of California. Mandatory forum

selection clauses are presumptively valid and should be enforced absent a strong showing that

enforcement would be unfair or unreasonable. Carnival Cruise Lines, Inc. v. Shute, 499 U.S.

585, 593 95 (1991) (upholding the validity of a forum selection clause in a form contract).

       Second, the scope of the forum selection clause applies to this dispute. The First Circuit

has emphasized that “it is the language of the forum selection clause itself that determines which

claims fall within its scope.” Claudio-De Leon v. Sistema Universitario Ana G. Mendez, 775

F.3d 41, 47 (1st Cir. 2014) (citation omitted). Here, Twitter’s clause covers “all” claims relating

to Twitter’s services, which includes Twitter suspending the Account. Plaintiff’s claims therefore

fall within the scope of the relevant clauses.

       Third, the forum selection clause is enforceable. Plaintiff bears the heavy burden of proof

to establish that a forum selection clause should not be enforced, and cannot do so. See M/S

Bremen v. Zapata Off–Shore Co., 407 U.S. 1, 17 (1972) (explaining that the party arguing that a

forum selection clause is inapplicable “bear[s] a heavy burden of proof”); In re Mercurio, 402

F.3d 62, 66 (1st Cir. 2005) (recognizing the “‘heavy burden of proof’” to overcome a forum

selection clause on inconvenience grounds); Claudio-De Leon, 775 F.3d at 48 (same).

       In the First Circuit, courts consider four factors to determine whether a forum selection

clause is unenforceable: (1) whether the clause was the product of “fraud or overreaching;” (2)




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“enforcement would be unreasonable and unjust;” (3) proceedings “in the contractual forum will

be so gravely difficult and inconvenient that [the party challenging the clause] will for all

practical purposes be deprived of [her] day in court;” or (4) “enforcement would contravene a

strong public policy of the forum in which suit is brought, whether declared by statute or by

judicial decision.” Rafael Rodríguez Barril, Inc. v. Conbraco Indus., Inc., 619 F.3d 90, 93 (1st

Cir. 2010) (alteration in original). None of those factors suggests that the clauses at issue here are

unenforceable.

       First, Plaintiff is an admitted Twitter account holder and agreed to the UA, which

obviates any argument that the clauses are fraudulent or unreasonable, or that enforcing them

would be inconvenient. See Compl., Ex. D-1, at § 2 (“[Twitter’s] Terms of Service . . . govern

your access to and user of our services. . . . By using the Services, you agree to be bound by

these Terms”); see also, e.g., Brittain, 2019 WL 8137718, at *2 (enforcing Twitter’s forum

selection clause and noting that “Twitter's Terms, to which Brittain assented when he registered

for an account, are valid and enforceable”); Wingo, 2014 WL 7013826, at *3 (enforcing

Twitter’s forum selection clause as to a user who agreed to the Terms when he signed up for his

account); Twitter, Inc. v. Skootle Corp., No. 12-1721-SI, 2012 WL 2375486, at *6 (N.D. Cal.

June 22, 2012) (rejecting inconvenience argument where litigant agreed to terms of service as

“insufficient to show that enforcement of the forum selection clause would be so gravely difficult

as to deprive him of his day in court”). Nothing in Plaintiff’s Complaint suggests that he agreed

to these provisions only through fraud, and if Plaintiff did not want to agree to them, he simply

could have not used the services.

       Additionally, as the Supreme Court held in Atlantic Marine, while a district court

ordinarily evaluates the “convenience of parties and witnesses” on a motion to transfer, a forum




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selection clause changes this analysis. 571 U.S. at 62. A forum selection clause “represents the

parties’ agreement as to the most proper forum,” and it should be given “controlling weight in all

but the most exceptional cases.” Id. at 63 (internal quotation marks and citation omitted). By

consenting to the forum selection clause, Plaintiff “has waived . . . the right to challenge the

preselected forum as inconvenient.” See Wingo, 2014 WL 7013826, at *3. “As a consequence, a

district court may consider arguments about public-interest factors only.” Atl. Marine, 571 U.S.

at 64. Here, transferring the case would not violate the public policy of New Hampshire. To the

contrary, the purpose of a forum selection clause “is, at least in part, to protect defendants and

give them a voice as to where a dispute will be heard and resolved.” Claudio-De Leon, 775 F.3d

at 47 (citing Huffington v. T.C. Grp., LLC, 637 F.3d 18, 22-23 & n.3 (1st Cir. 2011); C. Pappas

Co. v. E. & J. Gallo Winery, 565 F. Supp. 1015, 1018 (D. Mass. 1983)). Transferring the case is

therefore consistent with this state’s public policy.

       Taken together, there is no reason to override “the presumption of enforceability” that

requires Plaintiff to bring his complaint against Twitter in the Northern District of California.

Therefore, if any claims survive, they should be transferred accordingly.

                                      IV.     CONCLUSION
       For the reasons above, Twitter respectfully requests that the Court dismiss Plaintiff’s

claims with prejudice. Alternatively, any surviving claims against Twitter should be transferred

to the Northern District of California.




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                                           Respectfully submitted,

                                           Twitter, Inc.

                                           By its attorneys,

                                           ORR & RENO, PROFESSIONAL ASSOCIATION

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                               CERTIFICATE OF SERVICE

       I, Jonathan M. Eck, certify that on this date service of the foregoing document was made
upon the Plaintiff, pro se, via email.

Dated: June 1, 2020                               /s/ Jonathan M. Eck
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